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                 EXHIBIT B




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                                                         ATI COMPLETE PARTNERSHIP AGREEMENT


This ATI Complete Partnership Agreement (this “Agreement”) is entered into by and between Assessment Technologies Institute, L.L.C., with its principal place
of business at 11161 Overbrook Road, Leawood, KS 66211 (“ATI”) and                                  with its principal place of business at
           (“Nursing Program”) (referred to collectively herein as “the Parties”) and contains terms and conditions governing Nursing Program’s procurement of
Products and Services from ATI. This Agreement shall be binding when signed by the Parties (the “Effective Date”).

1. PURPOSE. This Agreement sets forth terms and conditions under which                 (c) Termination of License. ATI may terminate the License by written notice
ATI shall license ATI Products and provide ATI Services to Nursing                     (i) with immediate effect if Nursing Program infringes or misappropriates
Program. “Products” shall mean ATI’s proprietary products or products                  any ATI IP rights (as defined in Section 4), if ATI determines that the security
licensed or supplied to ATI by a third party, including all related books,             and integrity of any ATI Assessment(s) would be at risk through continued
videos, curriculum content, documentation, manuals, guides, practice and               use by Nursing Program, or if Nursing Program breaches any material
proctored assessments (“Assessment(s)”), computer software programs, and               License provision contained in this Section 2, or (ii) if Nursing Program fails
other materials, and any copies, in any form or medium delivered or made               to cure any other material breach of this Agreement within thirty (30) days
accessible to Nursing Program, including all updates, upgrades, new versions           after receipt of written notice from ATI. On the License End Date, or in the
and revisions thereto made commercially available by ATI. “Services” shall             event of an earlier License termination under this Section 2, Nursing Program
mean any service provided by ATI to the Nursing Program in connection with             shall make no further use of the Products or Services and, in the event of a
Product(s) or otherwise, including any implementation, maintenance and                 breach of this Section 2, ATI shall deactivate Nursing Program’s access to
support services related to computer software programs. Any schedules                  the Products and Services licensed hereunder.
(“Schedules”) attached hereto, or signed by the Parties subsequent to the              3. ORDER; PAYMENT
Effective Date of this Agreement, shall be incorporated into and made a part           (a) Orders. For each Nursing Program Order for ATI Products and Services
of this Agreement. In the event of any inconsistency between the terms of              hereunder, the Parties shall execute a Schedule which shall include (i) a list
this Agreement and the terms of a Schedule, the terms of said Schedule shall           the Products; (ii) a mutually agreeable description of Services to be
prevail.                                                                               performed, including the obligations of the Parties; and (iii) Product and
2. LICENSE GRANT AND RESTRICTIONS.                                                     Services fees due under the Schedule, including any specific invoicing
(a) License Grant. Subject to the terms herein, ATI grants to Nursing                  periods. As ATI Product pricing is per Student, Nursing Program shall
Program a non-exclusive, non-transferrable, non-sublicensable right to                 promptly notify ATI of any new Student(s) joining the program after Nursing
access and use the Products and Services delivered or made available online            Program has commenced use of the Products and Nursing Program shall be
to Nursing Program by ATI (“License”), as set forth in Schedule A and                  responsible for payment of additional fees for any such additional Student(s)
described in an ATI Comprehensive Assessment and Remediation Program                   in accordance with Schedule A.
order form or any future form used by ATI for Product orders (“ATI                     (b) Product and Services Fees Payment. Product and Services fees noted in
Order”). Products may be used only by Nursing Program’s enrolled students              the applicable Schedule are due and payable net thirty (30) days from the
(each, a “Student”), administrators, preceptors, faculty, and staff (“Nursing          invoice date. Notwithstanding the foregoing, ATI reserves the right to require
Program Staff”) in the United States (collectively, “Authorized Users”), in            pre-payment of all or a portion of the Product and Services fees prior to
connection with the Nursing Program class identified in Schedule A                     delivering or providing access to Products and/or prior to delivering Services.
(“Nursing Program Class”) during the period a Student is enrolled in                   Any amounts which are not paid when due shall bear interest at one and one
Nursing Program’s nursing program. This License term (“License Term”)                  half percent (1.5%) per month or the maximum legal rate, if less. In addition,
for each Nursing Program Class’s use of the Products and Services shall                ATI reserves the right to suspend access to ATI web-based Products and
begin upon the applicable Nursing Program Class curriculum start date                  Services in the event that if Nursing Program is more than ninety (90) days
(“License Start Date”) and, unless terminated earlier pursuant to this                 past due on any undisputed amounts, and Nursing Program agrees that ATI
Agreement, shall terminate one year after said Nursing Program Class’s                 shall not be liable to Nursing Program or to any third party for any liabilities,
graduation date, except as otherwise specified in Schedule A (“License End             claims or expenses arising from or relating to termination or such suspension
Date”). Product enhancements made commercially available by ATI during                 of access to ATI Products and Services.
the License Term shall be provided to Nursing Program at no additional                 (c) Taxes. All fees noted on a Schedule are exclusive of any sales, use, value
charge. Nursing Program acknowledges that its right to use any Products                added or other taxes, fees, or costs which may be imposed, levied, or assessed
comprised of computer software programs will be web-based only pursuant                against the sale, licensing, delivery, or use of Product(s) or Services. Nursing
to the terms of this Agreement and such software will not be installed on any          Program shall pay all taxes that may become due as a result of this
servers or other computer equipment owned or controlled by Nursing                     Agreement, excepting only ATI’s income and payroll related taxes. ATI shall
Program or otherwise provided to Nursing Program.                                      invoice Nursing Program for all such taxes, which may be paid by ATI unless,
(b) Security of ATI Products and Services. Nursing Program shall supervise             prior to Product delivery or commencement of applicable Services, Nursing
use of the Products and Services by Authorized Users and take reasonable               Program provides ATI with a valid tax-exempt certificate.
measures to allow only Authorized Users to access the Products and Services.           4. PROPRIETARY RIGHTS. Nursing Program acknowledges that the
Nursing Program shall comply with ATI’s proctoring requirements as they                Products and Services materials, as well as ATI’s proprietary information,
related to administration of ATI Assessments, which shall be provided by               tools, methods, programs, software, graphics, user interfaces, logos,
ATI in writing to Nursing Program. Nursing Program shall take reasonable               trademarks, anything developed or delivered by ATI under this Agreement,
measures to prevent Authorized Users from misusing and improperly sharing              and all prior developed intellectual property, are the sole and exclusive
Products and Services and will have clear policies, actively enforced by               intellectual property of ATI or its licensors (“ATI IP”) and, other than as
Nursing Program, that prohibit any form of cheating on ATI Assessments,                expressly set forth in this Agreement, no license or other rights in or to the
including but not limited to, any copying, reproduction, sharing or                    Products or Services are granted to Nursing Program, and all such licenses
distribution of all or part of any ATI Assessment. Nursing Program shall not           and rights are hereby expressly reserved by ATI. All ATI consulting Services
(and take reasonable steps to ensure Authorized Users do not) (i) modify,              shall be delivered on a non-work for hire basis. Nursing Program’s limited
translate, copy, reproduce, disassemble, decompile, or create derivative               right to use such ATI IP shall be governed by the licensing, confidentiality,
works of the Products or Services or any portion thereof; and (ii) transfer,           and other use restriction provisions of this Agreement. ATI’s names, and its
loan, rent, lease, distribute, or grant any rights in any form in or to Products       product and Services names, are trademarks and service marks belonging to
or Services or remove or obscure any copyright or other proprietary notice,            ATI. All rights reserved. ATI Products and Services are protected by
labels or proprietary marks therein. All Products and Services are subject to          copyright and no part of the ATI Products or Services may be resold,
copyright and contain confidential and trade secret information belonging to           licensed, copied, transferred, distributed, stored, reproduced, or disclosed to
ATI and Nursing Program agrees not to disclose any Product or Services, or             any third party without written permission of ATI. Nursing Program is not
portion thereof, to any person who is not an Authorized User. If Nursing               permitted to use any ATI Services material or content for the delivery of its
Program is obtaining online access to Products hosted on ATI’s servers,                own presentation or workshop. To the extent that any ATI IP is included in
Nursing Program, including Authorized Users, shall receive and utilize                 any consulting/workshop Services, Nursing Program may use such ATI IP
access information, such as passwords and usernames, (“Access                          pursuant to the License and solely for its own internal business purpose,
Information”) to permit Product access. Nursing Program shall implement                provided that use of any ATI proprietary software shall not be included in
reasonable measures to safeguard against improper sharing or unauthorized              such License and is restricted solely to use by ATI in connection with ATI’s
use of such Access Information.                                                        delivery of such consulting/workshop Services. ATI reserves the right to seek
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all legal and equitable rights and remedies available to ATI for any Nursing           have access to confidential and proprietary information (“Receiving Party”)
Program use of ATI IP in violation of this Agreement.                                  of the other party (“Disclosing Party”), whether orally or in writing, that is
5. WARRANTIES AND DISCLAIMERS.                                                         marked as confidential or that should reasonably be understood to be
(a) ATI warrants that (i) for 90 days after delivery of, or Nursing Program            confidential given the nature of the information (collectively, “Confidential
receiving access to, the Products, the media and documentation supplied by             Information”). Confidential Information shall not include any information
ATI to Nursing Program shall be free from material defects in materials and            that can be shown by the Receiving Party to be (i) generally known to the
workmanship under normal use and that the Products shall perform in all                public without breach of any obligation owed to the Disclosing Party; (ii)
material respects in accordance with the documentation provided (“Product              known to the Receiving Party prior to its disclosure by the Disclosing Party
Warranty”) and (ii) Services shall be performed in a good workmanlike                  without breach of any obligation owed to the Disclosing Party; (iii)
manner consistent with generally accepted industry standards (“Services                independently developed by the Receiving Party without any breach of any
Warranty”). The foregoing Product Warranty and Services Warranty shall                 obligation owed to the Disclosing Party; or (iv) received from a third party
not apply if the Product or Service, as applicable, has been subject to misuse         without breach of any obligation owed to the Disclosing Party. The Receiving
or modification (other than modification by ATI or its licensors) and the              Party shall not disclose any Confidential Information of the Disclosing Party
nonconformance can be demonstrated on an unmodified version of such                    for any purpose outside the scope of this Agreement, except with the
Product or Service. For a breach of Product Warranty which is reported                 Disclosing Party’s prior written consent. Each party shall protect the
during the Product Warranty period, ATI shall correct or replace the Product           Confidential Information of the other party in the same manner that it protects
or, if such is not practical in ATI’s judgment, refund amounts paid for such           its own confidential and proprietary information, but in no event less than
defective Product. For a breach of Services Warranty which is reported to              reasonable care. If Receiving Party is compelled by law to disclose
ATI no later than thirty (30) days following performance of the defective              Confidential Information of the Disclosing Party, it shall provide the
Service, ATI shall re-perform such defective Service at no cost to Nursing             Disclosing Party with prior notice of such compelled disclosure (to the extent
Program or, if re-performance is not practical in ATI’s judgment, provide to           permitted by law). Each party reserves the right to seek injunctive relief, in
Nursing Program a refund for amounts paid for the defective Service. Except            addition to any other remedies available at law, to protect its Confidential
for the foregoing warranty, ATI’s Products and Services are provided “as-is”           Information.
without warranty of any kind.                                                          (b) ATI and its licensors may compile and use statistical, diagnostic, technical
(b) Nursing Program acknowledges that Products are intended solely for                 or general usage information related to its Systems, and may in some cases
academic purposes and that Authorized Users should NOT rely on the                     make such information publicly available, provided that such information is
Products as a reference for administering medications or patient care or as a          aggregated, de-identified, and/or made anonymous and does not identify
substitute for professional medical judgment. ATI does not assume, and                 Nursing Program Confidential Information, personally identifiable Nursing
hereby expressly disclaims, any responsibility for, or warranty regarding,             Program Data or include Nursing Program’s name. ATI retains all intellectual
Nursing Program’s ability to satisfy or meet any accreditation requirements.           property rights in such aggregated and de-identified information.
NURSING PROGRAM IS SOLELY                           AND EXCLUSIVELY                    7. INDEMNIFICATION.
RESPONSIBLE FOR MONITORING AND VERIFYING ITS INPUT TO                                  (a) Subject to this Section 7, if an action is brought against Nursing Program
THE ATI PRODUCTS AND SERVICES (INCLUDING WITHOUT                                       claiming that Products, when used in accordance with ATI Product manuals and
LIMITATION NURSING PROGRAM DATA) AND FOR DETERMINING                                   guides and this Agreement, infringes a valid patent or registered copyright, or
THE ACCURACY, COMPLETENESS OR APPROPRIATENESS OF                                       misappropriates a trade secret, ATI shall defend Nursing Program at ATI's
ANY FINANCIAL, CLINICAL OR MEDICAL INFORMATION OR                                      expense and pay the damages and costs finally awarded against Nursing
OTHER OUTPUT PROVIDED BY ATI PRODUCTS AND SERVICES.                                    Program in relation to the infringement or misappropriation action, but only if
ATI shall be entitled to rely on the accuracy, truthfulness and completeness           (i) Nursing Program notifies ATI promptly upon learning that an action has
of all Nursing Program input into ATI Products and Services (including                 been or might be asserted, (ii) ATI has sole control over the defense of the action
Nursing Program Data), and Nursing Program hereby releases ATI from any                and any negotiation for its settlement or compromise, and (iii) Nursing Program
claims arising out of such improper reliance on Products or Services.                  fully cooperates in ATI’s defense of such action. ATI shall have no obligation
(c) THIS SECTION SETS FORTH ATI’S SOLE LIABILITY AND                                   or liability under this Section 7 if the action results from (i) a modification or
NURSING PROGRAM’S SOLE REMEDY FOR BREACH OF                                            improper use of such Product, (ii) the failure to promptly replace a Product with
WARRANTY. THE FOREGOING WARRANTIES ARE IN LIEU OF ALL                                  a new Product when notified by ATI that the replacement Product would have
OTHER WARRANTIES, WHETHER ORAL, WRITTEN, EXPRESS OR                                    eliminated the actual or alleged infringement or misappropriation, (iii) the use
IMPLIED. ATI DISCLAIMS ANY IMPLIED WARRANTIES OF                                       of any non-ATI product, information, design, specification, instruction,
MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE                                   software, data, or material in combination with the Product where such
OR THAT THE PRODUCTS OR SERVICES SHALL MEET NURSING                                    infringement would not have arisen but for such combination, or (iv) ATI’s
PROGRAM’S SPECIFIC REQUIREMENTS, BE ERROR FREE OR                                      compliance with designs, plans or specifications furnished by Nursing
UNINTERRUPTED, NOR SHALL ATI BE LIABLE FOR                                             Program. If a covered claim described in this Section may be or has been
UNAUTHORIZED ALTERATION, THEFT, OR DESTRUCTION OF                                      asserted, Nursing Program shall permit ATI, at ATI's option and expense, to (i)
NURSING PROGRAM DATA, FILES OR PROGRAMS . ATI shall have                               secure the right for Nursing Program to continue using the Product, (ii) replace,
no obligations under this Section 5 if the breach is caused by Nursing                 modify, or create a workaround for the Product to eliminate the infringement or
Program’s improper use or modification of a Product.                                   misappropriation while providing functionally equivalent performance, or (iii)
6. CONFIDENTIAL INFORMATION AND NURSING PROGRAM                                        terminate the applicable License and, upon Nursing Program’s return of the
DATA.                                                                                  infringing Product, refund to Nursing Program the amount actually paid to ATI
(a) The Parties agree that (i) this Agreement, any Schedules and Orders, and           for such Product.        THIS SECTION 7 SETS FORTH ATI’S SOLE
the Products and Services provided hereunder and any information Nursing               LIABILITY AND NURSING PROGRAM’S SOLE REMEDY WITH
Program receives or reviews concerning ATI, including, but not limited to,             RESPECT TO ANY INFRINGEMENT CLAIM.
any information concerning ATI's past, present and future research,                    8. LIMITATION OF LIABILITY. UNDER NO CIRCUMSTANCE
marketing, development, operations and business activities, information                SHALL EITHER PARTY OR THEIR RESPECTIVE DIRECTORS,
regarding Products or Services, methods of database creation, ATI's translation,       OFFICERS, EMPLOYEES, LICENSORS, SUPPLIERS OR AFFILIATES
standardization, enhancement, and data analysis techniques, ATI’s data reporting       BE LIABLE FOR ANY CONSEQUENTIAL, INDIRECT, SPECIAL, OR
methods and formats, ATI’s software tools for report creation, distribution and        INCIDENTAL DAMAGES OR LOST PROFITS, WHETHER
retrieval, associated algorithms, tools, programs, software architecture and           FORESEEABLE OR UNFORESEEABLE, ARISING OUT OF OR IN
technology, and any other information or material proprietary to ATI or its            CONNECTION WITH THIS AGREEMENT. NOTWITHSTANDING
licensors of which the Nursing Program may obtain knowledge or access                  ANYTHING TO THE CONTRARY HEREIN, IN NO EVENT SHALL
from ATI during ATI's performance hereunder is confidential information of             THE AGGREGATE LIABILITY OF EITHER PARTY OR THEIR
ATI (collectively, "ATI Confidential Information"); and (ii) personal or               RESPECTIVE DIRECTORS, OFFICERS, EMPLOYEES, LICENSORS,
academic information regarding Students and information about Nursing                  SUPPLIERS, OR AFFILIATES EXCEED IN ANY ACTION OR
Program submitted to ATI or any ATI System by Nursing Program or                       PROCEEDING ARISING OUT OF OR IN CONNECTION WITH THIS
Nursing Program Staff or Students (“Nursing Program Data”) is                          AGREEMENT THE TOTAL AMOUNT THAT NURSING PROGRAM
confidential information of Nursing Program (collectively, “Nursing                    ACTUALLY PAID TO ATI FOR THE SPECIFIC PRODUCT OR
Program Confidential Information”); and (iii) each party may receive or                SERVICE WHICH IS THE SUBJECT OF SUCH ACTION OR


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PROCEEDING IN THE PRIOR TWELVE (12) MONTHS, PROVIDED,                                   commercial computer software in accordance with US DFARS 227.7202-3
HOWEVER, THE LIMITATIONS IN THIS SECTION SHALL NOT                                      and its successors, and use, duplication, or disclosure by the US Government
APPLY TO EITHER PARTY’S MISAPPROPRIATION OF THE OTHER                                   is subject to the restrictions set forth herein.
PARTY’S INTELLECTUAL PROPERTY OR RELIEVE NURSING                                        (h) Publicity. Nursing Program permits ATI to use Nursing Program’s name
PROGRAM OF ITS OBLIGATION TO MAKE FULL PAYMENT OF ALL                                   and logo in ATI’s list of customers and ATI Complete Partnership customers,
AMOUNTS DUE HEREUNDER.                                                                  including but not limited to in ATI’s marketing and website materials,
9. HIGH-STAKES USE. Nursing Program acknowledges and understands                        provided that ATI shall not include any statement indicating Nursing
that ATI discourages use of ATI Products, Services and Assessments as the sole          Program’s endorsement of ATI or any ATI Product or Service without
criterion to determine student advancement, graduation, or readiness to sit for         Nursing Program’s express written authorization. Any use beyond the
any licensure exam (“High-Stakes Use”). ATI disclaims any and all                       foregoing shall require Nursing Program’s prior written permission.
responsibility, liability or obligation in connection with any High-Stakes Use,         (i) Severability. If any court of competent jurisdiction determines that any
policy or practice by Nursing Program. Nursing Program shall defend,                    provision of this Agreement is illegal, invalid, or unenforceable, the
indemnify and hold harmless ATI and its affiliates, directors, employees,               remaining provisions of this Agreement shall remain in full force and effect.
agents, successors and assigns from and against any claim, liability, damage,           (j) Export Regulations. Nursing Program acknowledges that ATI
cost or expense arising out of or related to Nursing Program’s High-Stakes Use          deliverables are subject to export controls and agrees to strictly comply with
of any ATI Products, Services or Assessments.                                           all applicable U.S. export controls and regulations and will not export any
10. MISCELLANEOUS                                                                       ATI deliverables outside of the U.S.
(a) No Agency. This Agreement does not create a partnership, franchise, joint           (k) Feedback. ATI has not agreed to and does not agree to treat as
venture, agency, fiduciary, or employment relationship between the Parties.             confidential any suggestion, enhancement request, customization request,
(b) Force Majeure. Neither party shall be considered in breach of its                   recommendation or idea for improving or otherwise modifying any of ATI’s
obligations under this Agreement due to any failure to perform such                     Products or Services (“Feedback”) that Nursing Program or any Authorized
obligations arising out of causes beyond the reasonable control, and without            Users provide to ATI. Nothing in this Agreement or in the parties’ dealings
the fault or negligence, of such party. Such causes shall not excuse Nursing            arising out of or related to this Agreement will restrict ATI’s right to use,
Program from paying accrued amounts due to ATI through any available                    profit from, disclose, publish, keep secret, or otherwise exploit Feedback,
lawful means acceptable to ATI. If any such causes continue to prevent or               without compensating or crediting Nursing Program or any Authorized User.
delay performance for more than 180 days, ATI may terminate this                        (l) Entire Agreement. The terms set forth herein constitute the entire
Agreement, effective immediately upon notice to Nursing Program.                        agreement between the Parties with respect to Nursing Program’s
(c) Notice. All notices or approvals required or permitted under this Agreement         procurement and use of Product(s) and Services from ATI. This Agreement
shall be given in writing and signed by the authorized representatives of the           shall override and replace all terms contained in any Nursing Program
Parties hereto. All such notices shall be hand delivered or sent to the Parties’        purchase order accepted by ATI. These terms supersede and exclude all prior
respective addresses first set forth above or to such other address as either           or contemporaneous proposals, understandings, agreements, negotiations,
party may specify by written notice to the other. No failure or delay by either         and representations, whether oral or written, with respect to the subject matter
party to exercise any right or remedy specified herein shall be construed as a          of this Agreement.
current or future waiver of such remedy or right, unless said waiver is in              11. SCHEDULES. The following attached Schedules are incorporated by
writing.                                                                                reference into and made a part of this Agreement:
(d) Amendments. This Agreement may be superseded or modified solely by                        Schedule A – ATI Complete Partnership Agreement - Additional Terms
written agreement signed by the authorized representatives of both parties                    and Conditions
hereto, which specifically acknowledges the existence of this Agreement and
that it is being superseded or modified by the terms of such subsequent written         IN WITNESS WHEREOF, the Parties have executed this Agreement.
agreement.
(e) Governing Law. This Agreement shall be governed by and interpreted in               Assessment Technologies Institute, LLC, by its authorized representative:
accordance with the laws of the state of Kansas, U.S.A., excluding its conflict
of law principles, and consent to exclusive jurisdiction in the state and federal       Signature: _____________________________________
courts located in Johnson County in any action related to this Agreement. In
the event of any action related to this Agreement, the court shall have the power       Name:      _____________________________________
to award costs and attorneys fees to the prevailing party in such action. The
parties specifically agree to exclude the United Nations Convention on                  Title:     _____________________________________
Contracts for the International Sale of Goods and the Uniform Computer
Information Transaction Act in the form adopted by any state from governing             Date:      _____________________________________
this Agreement and any transaction between the parties that may be
implemented in connection herewith. All provisions of this Agreement that
by their nature are intended to survive expiration or termination shall survive.        Nursing Program, by its authorized representative:
(f) Assignment. Nursing Program may not assign any of its obligations,
rights or remedies hereunder, in whole or in part, without the express written          Signature: _____________________________________
approval of ATI.
(g) Restricted Government Rights. The Products were developed solely at                 Name:      _____________________________________
private expense, contain "restricted computer software" submitted with
restricted rights in accordance with the US FAR 52.227-19 (a) through (c) of            Title:     _____________________________________
the Commercial Computer Software License (Dec 2007) Clause and its
successors, and in all respects is proprietary data belonging to ATI and/or its         Date:      _____________________________________
suppliers. For US Department of Defense units, the Products are considered




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                                                                        SCHEDULE A

                                                           ATI Complete Partnership Agreement
                                                            Additional Terms and Conditions

This Schedule A (“this Schedule”) sets forth additional terms and conditions of the ATI Complete Partnership Agreement entered into by Nursing Program.
This Schedule is subject to the terms of the ATI Complete Partnership Agreement between ATI and Nursing Program (“Agreement”). Terms used herein shall
have the same meaning as set forth in the Agreement, unless separately defined herein. In the event of any inconsistency between the terms of the Agreement
and this Schedule, this Schedule shall prevail.

1. Products

(a) The following ATI Products are procured by Nursing Program and licensed by ATI for use with Nursing Program cohorts with a curriculum start date
between the period beginning            2020 and ending June 30th 2023 (License Term) (each such cohort referred to herein as the “Nursing Program Class”
and collectively referred to herein as the “Nursing Program Classes”), subject to the terms of the Agreement and this Schedule:

      CARP (Comprehensive Assessment & Review Program)                               Nurses Touch Tutorials
             CMS Proctored Assessments                                               Communication Simulation Modules
             CMS Online Practice Assessments                                         Civility Simulation Modules
             Clinical Judgement Practice Items                                       Test Taking Strategies Seminar
             Comprehensive Predictor - Proctored & Online Practice                   Learning Strategies Book
                Assessments                                                          Jones & Bartlett Drug Guide
             Focused Review Modules                                                  Active Stack: Pharmacology Online Flash Cards
             Video Case Studies                                                      NCLEX Reviews
             NurseLogic                                                                    Capstone Content Review
             Learning System                                                               Virtual ATI
             Self-Assessment Inventory                                                     BoardVitals
             Critical Thinking Entrance/Exit Test                                          Comprehensive or Customized Live NCLEX Review2
      ATI HealthAssess                                                               Nursing Program Resources:
      EHR Tutor                                                                            The following modules of ATI Program Manager by MedHub -
      Skills Modules                                                                           Accreditation Management upon ATI’s general release3
      Nursing Fundamentals Interactive Tutorial 1                                              Clinical Management upon ATI’s general release3
      Dosage Calculations and Safe Medication Administration                               ATI Pulse
      Pharmacology Made Easy                                                               Four (4) Total Days of Consulting with an ATI Nurse Consultant4
      Dosage Calculation Proctored Assessments                                             ATI Academy Premium Membership
      Anatomy and Physiology Assessment Package                                            Educating Nurses Faculty Annual Subscription5
      Achieve Tutorial                                                                     Nurse Educator Essentials: Online Learning Lab
      Real Life: Clinical Reasoning Scenarios
  1
      Nursing Program will receive access to Nursing Fundamentals Interactive Tutorial upon ATI’s general release of each such Product.
  2
      Live NCLEX Reviews require a minimum of 10 Students.
  3
      Nursing Program will receive access to each of the modules within Accreditation Management as made available by ATI upon ATI’s general release of
      each such module.

  4
      Consulting will be limited to four (4) days, with topics to be selected from an ATI list of available topics. Two (2) of the four (4) days will be
      dedicated to implementation and training related to the Accreditation Management module of ATI Program Manager by MedHub. Consulting must be
      completed within the above noted License Term. No credits or refunds will be provided for Consulting not used within the License Term.
  5
      Nursing Program will receive an annual subscription to Renewal of EducatingNurses.com for the duration of this Agreement, provided that such
      subscription is subject to ATI’s continued status as a reseller of EducatingNurses.com and further provided that EducatingNurses.com license terms
      will be between Nursing Program and Educating Nurses LLC.

Except for ATI’s proctored Assessments, which are available during each applicable Nursing Program Class, and Nursing Program Resources listed above,
which are available during the License Term, Students will have access to the above ATI Products procured hereunder until the period ending one year after
the applicable Nursing Program Class graduation date.

(b) Nursing Program Classes

The Products noted in Section 1(a) above are procured by Nursing Program and licensed by ATI for use with all Students enrolled in Nursing Program Classes,
as well as any Nursing Program Class(es) added by ATI Order Form or a written amendment to this Schedule A signed by both parties.

2. Student Enrollment

Under the ATI Complete Partnership Agreement, for the full duration of each of the above Nursing Program Classes, Nursing Program will procure the
Products and pay the per Student Fee set forth in Section 7, below, for all Students enrolled in said Nursing Program Classes specified in Section 1 of this
Schedule at the following Nursing Program campus(es):



Within one week after the first day of class of each semester, Nursing Program shall provide to ATI via email an electronic roster with the names of all Students
enrolled in each Nursing Program Class. Nursing Program shall require that all Students in each Nursing Program Class register online with ATI for use of the
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Products and shall provide written notice to ATI of any changes in the Nursing Program Class list, including additions for new or transfer Students and deletions
for Student who leave the Nursing Program. Nursing Program will notify ATI in writing within 30 days of any such change to the Student Enrollment.


3. ATI Services
   ATI shall provide the following Services to Nursing Program under this Schedule, at no additional charge:

   (a)   Faculty Orientation & Implementation Meeting: Prior to administering the ATI Products, an ATI consultant will meet with the nursing faculty (in
         person) to accomplish the following:
            As described more fully below, create a policy for Student and faculty use of ATI Products
            Explain how to navigate the website and reporting portal
            Explain how to produce and interpret score reports and data
            Identify and set an appropriate benchmark for the various Assessments and tutorials
            Determine the best method of implementing ATI resources, including degree to which stakes are involved for Nursing Program
            Discuss how to troubleshoot issues

   (b)   Student Orientation Tutorial: Students are provided access to an ATI orientation tutorial located on their Student website, to assist with the following:
            Explain who ATI is, and what ATI does
            Explain the benefits of using ATI Products during nursing school as well as for NCLEX preparation
            Explain how to navigate the Student website and reporting portal

           Time spent in the tutorial will be tracked and a certificate of completion available for the Student. It will also be recorded on the Student’s
           transcript.

   (c)   ATI Product Alignment to Curriculum: As set forth in Section 4, below, ATI nurse educators will provide a blueprint for suggested mapping of ATI
         Products to Nursing Program curriculum.

   (d)   Complete Insights Reviews: An ATI representative will meet with Nursing Program leadership on a semi-annual basis (or as agreed upon by both
         parties) to (i) review and interpret student performance data based on ATI Product usage as prepared by ATI, (ii) review ATI Product Alignment and
         Nursing Program Policies in relation to current Nursing Program and faculty practices, and (iii) collaborate with Nursing Program to develop mutually
         agreed upon action plans for improvement.


4. Nursing Program Obligations

   (a)   Within sixty (60) days of the Effective Date of the Agreement, ATI and Nursing Program will develop mutually agreed upon written Nursing Program
         policies (“Program Policies”) for distribution to all students and faculty regarding use of ATI Products by Nursing Program. The Program Policies
         will include, at a minimum, the following:
                   benchmarks for student performance on ATI Assessments
                   detailed description of how ATI Products are implemented and used by Nursing Program, including for assessments and tutorial use
                   including ATI Products in each course syllabus
                   policy for student grading, including what percent of students’ course grades will be tied to ATI Products
                   admissions policy reflective of industry standards

         Nursing Program will oversee implementation of the Program Policies, and ensure that faculty adhere to specified requirements.

   (b)   ATI will create a detailed Product alignment blueprint (“ATI Product Alignment”), recommending placement of ATI’s Products in relation to
         Nursing Program curriculum. After studying the curriculum and course descriptions provided by the Nursing Program, ATI educators will match
         ATI content with Nursing Program courses and syllabi. The ATI Product Alignment will be delivered in hard copy and/or electronic format, and will
         be reviewed with the Nursing Program director and faculty. The Nursing Program director will sign-off on the ATI Product Alignment and any
         changes must be mutually agreed upon, in writing, by the parties. Nursing Program will provide the ATI Product Alignment to faculty for
         implementation.

   (c)   Students must make every effort to attend all days of the ATI Live NCLEX Review. Students will also be enrolled in the Virtual-ATI Online NCLEX
         Review (“Virtual-ATI”) for a 12-week access. Virtual-ATI includes a virtual “classroom” and a Virtual-ATI personal coach who will provide
         students with online practice Assessments, individualized remediation, and resources to help prepare for NCLEX. A “Green Light” may be awarded
         by the Virtual-ATI coach once a graduate has demonstrated readiness to test for NCLEX. At the end of the 12-week access, Nursing Program may
         purchase an additional 12 weeks of Virtual-ATI for a reactivation fee. Additional requirements regarding use of Virtual-ATI are set forth in the
         “Virtual-ATI Terms” found on the ATI website under “Integration Resources”. By signing this Agreement, Nursing Program indicates that it has read
         and understands the Virtual-ATI Terms.

   (d)   Within thirty (30) days of the Effective Date of the Agreement, Nursing Program and ATI will determine and document required ATI Academy
         webinars assigned for each faculty, with scheduled timeframes for completion. All faculty will be required to complete their assigned ATI Academy
         webinars, which, for each, will, at a minimum, include webinars that directly relate to the course(s) they teach.

   (e)   Nursing Program leadership will meet with ATI on a semi-annual basis, through meetings at Nursing Program facilities or by teleconference, to (i)
         review and interpret ATI Product usage and student performance data prepared by ATI, (ii) review ATI Product Alignment and Nursing Program
         Policies in relation to current Nursing Program and faculty practices, and (iii) collaborate with ATI on strategies for improvement. Based on agreed
         upon strategies, Nursing Program will implement appropriate measures designed to increase usage of ATI Products, improve student performance,
         and carry out Nursing Program’s Policies and the ATI Product Alignment.

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     (f)   Nursing Program will require that Students successfully adhere to Nursing Program policies regarding student performance.

     (g)   Nursing Program agrees that any data analytics Services performed by ATI hereunder are intended for the internal business uses of Nursing Program
           only and that such Services and any resulting reports, data, or methodologies used by ATI will not be disclosed by Nursing Program to any third
           party, unless compelled by law, in accordance with Section 6 of the Agreement.

     (h)   Students must take the NCLEX exam within ninety (90) days of graduating from Nursing Program. For any Student who passes the NCLEX, Nursing
           Program must provide ATI with written notice and a copy of the official NCLEX results indicating the Student’s passage of the NCLEX exam. Such
           notice must be received by ATI within one hundred and eighty (180) days of the Student’s Nursing Program Class graduation date. ATI shall not
           accept any notice or documentation from any Student in connection with this section; all documentation and notice must be provided to ATI directly
           by Nursing Program.

     (i)   In connection with Nursing Program’s use of ATI Products and Services, in addition to the other Nursing Program obligations set forth above in this
           Schedule and the Agreement:

             (1)   Nursing Program shall comply with all applicable laws, including without limitation laws governing the protection of personally identifiable
                   information and other laws applicable to the protection of Nursing Program Data. Nursing Program will take appropriate measures to ensure
                   its Authorized Users do not upload any patient data into any ATI systems.

             (2)   Nursing Program shall not alter, reproduce or copy ATI Products in any way, and shall at all times assure that all copyright and other
                   proprietary notices on ATI Products remain intact, unaltered and prominent. Nursing Program shall never claim or suggest that any ATI
                   Product is other than the intellectual property of ATI or its affiliates.

             (3)   Nursing Program shall not utilize or permit to be utilized any ATI Products for whom the applicable fee has not been paid to ATI.

             (4)    In connection with any ATI presented workshop, presentation, and ATI Live NCLEX Review, Nursing Program agrees to provide a
                    classroom or presentation space that is ADA compliant, suitable for the expected number of participants, with adjustable lighting, writing
                    surfaces for participant note-taking, and providing an unobstructed view of the ATI instructor and the instructor’s presentation at no charge
                    to ATI. The classroom/presentation space will be made available from 8:00am – 5:00pm (Course time: 9:00 am – 4:00 pm)

             (5)   Nursing Program agrees to provide audio visual equipment for an ATI Live NCLEX Review and any ATI presented workshop or
                   presentation as follows:
                            A computer enabled with Microsoft Office Power Point (2007 or later), projection connectivity and high speed Internet Access
                            Overhead projector
                            Large projection screen
                            Podium with light and stool
                            Microphone/cordless microphone
                            Registration table for participant check-in, managed by Nursing Program

                   This equipment will be in working order and made available to the ATI instructor at the beginning of the time agreed upon herein. If the
                   instructor encounters technical problems or complications, Nursing Program agrees to provide technical assistance as necessary. This
                   equipment and any applicable assistance shall be provided to ATI and its instructor at no charge.

             (6)   Provide a site coordinator within the Nursing Program to assist ATI with site logistics, and resolve any issues with the classroom as soon as
                   reasonably possible. Nursing Program agrees to provide at least fourteen (14) days prior notice of any cancellation of any scheduled ATI
                   presentation or workshop.

             (7)   Nursing Program agrees to allow ATI to fill any open seats in the ATI Live NCLEX Review classroom with students from other institutions,
                   where “open seats” is defined as the difference between the number of seats in the class room and the number of participants identified.

             (8)   Nursing Program agrees that, if any specifically designated ATI instructor/presenter is unable to instruct/present on the designated day (for
                   example, due to sickness or travel difficulties), ATI will replace such instructor/presenter with another instructor/presenter to ensure the
                   delivery of Services.

             (9)   Unless separately agreed in writing otherwise by ATI and Nursing Program, ATI will be responsible for all travel and living expenses
                   associated with travel by its instructors/consultants.

             (10) Nursing Program will follow ATI’s proctor guidelines and requirements in the administration of ATI Assessments and will use reasonable
                   methods to prevent cheating and unauthorized copying or distribution of ATI Assessments, including maintaining and enforcing a strict policy
                   that prohibits and sanctions any form of cheating, distribution or use of unauthorized copies of Assessments, or other test misconduct.

5.     ATI Program Manager by MedHub.

If Nursing Program has licensed use of ATI Program Manager by MedHub:

(a)     Nursing Program acknowledges and agrees that no network security system can guarantee complete network security or prevent all unauthorized
network access. Nursing Program will be responsible for maintaining access to the ATI Program Manager by MedHub server, which will include tracking log-
in accounts and ensuring that adequate security precautions are in place to protect username and password information for such accounts. ATI shall not be
liable for any unauthorized use of ATI Program Manager by MedHub, any use of ATI Program Manager by MedHub not in accordance with this Agreement,
or any loss of data or functionality caused directly or indirectly by any Authorized Users.

(b) Prior to adding any Student records or data to ATI Program Manager by MedHub, Nursing Program will ensure that it has secured all necessary permissions

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from each such Student, including permission to send such records or data to third party clinical sites. Such student records may include immunization records
if elected by Nursing Program. Given that all of a Student’s immunization data generally appears in one record, Nursing Program understands and agrees, and
will ensure each applicable Student understands and agrees, that clinical sites will receive a Student’s entire immunization record, which may include
immunization data that exceeds the applicable clinical site’s specific requirements. Nursing Program assumes sole responsibility for collection and uploading
of personal data of Students maintained in ATI Program Manager by MedHub and understands that ATI has no liability or obligation in connection with
Nursing School’s upload or transfer of such personal data to various third parties, as enabled by ATI Program Manager by MedHub. While Program Manager
by MedHub includes functionality that allows Nursing Program to indicate whether a student has met applicable background checks and drug testing, it is
strictly prohibited for Nursing Program to add reports or data which include the actual results or record of any background check or drug testing. Nursing
Program is solely responsible for selecting third parties to whom Student data will be delivered and for establishing access levels with respect to Student data.

(c) While ATI Program by MedHub may offer references to certain accreditation standards and professional guidelines as well as sample documents such as
a sample letter of good standing, Nursing Program understands that ATI is not offering or providing any form of legal or other professional advice and it is the
sole obligation of Nursing Program to secure appropriate legal and professional guidance to ensure that its program meets all reporting, regulatory, legal,
accreditation and other standards and that all documents are in order and meet Nursing Program’s specific needs. Nothing in ATI Program Manager by MedHub
should be deemed to replace decision making by Nursing Program or Nursing Program’s ongoing obligation to oversee program compliance. Use of ATI
Program Manager by MedHub does not guarantee that any accreditation, standards or any specific outcomes will be met for Nursing Program.

(d) To the extent Nursing Program utilizes features in ATI Program Manager by MedHub to upload contracts for purposes of managing clinical sites, Nursing
Program understand and agrees that this is solely intended for Nursing Program’s tracking of pertinent data, such as start and end data. ATI Program Manager
by MedHub is not intended for use in any way connected to contract negotiation, drafting, processing of signatures, or invoicing and ATI offers no legal advice
with respect to any of the forgoing.

(e) ATI does not review, verify, error check, or warrant the accuracy or fitness of any content or letters generated by or uploaded into ATI Program Manager
by MedHub, nor does ATI warrant that the workflow process or system will be error-free, meet Nursing Program’s requirements or comply with any applicable
law, regulation or accreditation requirement. Certain modules provide output files regarding professional licensure status from various state and federal
agencies. Nursing Program agrees that ATI does not verify, error check or warrant the accuracy or fitness of the output files or any information contained
therein. Output files are intended for internal business purposes only and not for distribution outside Nursing Program.

(f) Nursing Program will ensure that only authorized Nursing Program Staff have access to and use of ATI Program Manager by MedHub and will remain
responsible for (i) Nursing Program Staff’s use of ATI Program Manager by MedHub; (ii) any use of ATI Program Manager by MedHub through Nursing
Program’s account, whether authorized or unauthorized, including without limitation, sharing of passwords (prohibited by ATI) or any other conduct that
would violate the requirements of this Agreement applicable to Nursing Program; and (iii) the actions of Nursing Program Staff designated by Nursing
Program to serve as technical administrator of ATI Program Manager by MedHub. ATI shall not be liable for any loss of data or functionality caused directly
or indirectly by any Nursing Program Staff.

6. Consulting Services

In connection with any curriculum consulting Services provided to Nursing Program hereunder, Nursing Program shall:
    (a) Collaboratively develop a written schedule for such consulting Services with ATI representative;
    (b) Collaborate directly with ATI consultants regarding delivery of Services;
    (c) Provide meeting space with computer, data projector and internet access and schedule meeting times(s) with faculty as appropriate;
    (d) Ensure that all appropriate administrators, faculty, and students are available and present at all applicable meetings;
    (e) Provide requested materials and task completion as requested by ATI for successfully progressing through the project phases; and
    (f) Provide documents requested by ATI of the Nursing Program at least 2 weeks prior to the scheduled date of the initiation of consulting Services in
        order to avoid delays and rescheduling. ATI is not responsible for delays caused by the Nursing Program’s failure to provide the required material.
Nursing Program represents and agrees that:
    (a) Nursing Program has received all necessary State Board of Nursing and State Department of Education approvals for its nursing program and remains
        in compliance with applicable regulations and standards;
    (b) Nursing Program is solely responsible for ensuring that the curriculum and related materials meet all applicable regulations, rules, guidelines, and
        other accreditation, government, agency, and licensing requirements; ATI assumes no responsibility for any aspect of Nursing Program’s licensure,
        credentialing, or accreditation.
    (c) Nursing Program has a designated dean or director providing leadership over the nursing program;
    (d) Nursing Program has developed and maintains policies sufficient to support its nursing program;
    (e) Nursing Program has defined faculty responsibilities and expectations for its nursing program;
    (f) Nursing Program understands that the following circumstances may impact the overall effectiveness and outcomes of ATI’s consulting Services:
            Faculty workload, attrition, and experience
            Faculty preparedness, willingness to adopt practices, and engagement
            Timeliness in communication with ATI
            Necessary resources to facilitate meetings
    (g) Following completion of ATI’s consulting Services, ATI will provide to Nursing Program the following deliverables: a written summary report
        summarizing Services provided by ATI, and a copy of all documents developed by ATI during consulting visits.


7. Fees and Payment Schedule

(a) For the Products and Services noted above, Nursing Program shall pay to ATI $              per RN Student (“Fee”), to be invoiced and paid in accordance
with this Section 7.



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 (b) Per Term Payments: On or before ten (10) days after the applicable term’s add/drop period, Nursing Program will provide ATI with a Student enrollment
count for the applicable Nursing Program Class. ATI will provide an ATI Order based on the actual Student enrollment and a per Student fee for each term as
follows:

                                                  First          Second            Third         Fourth           Total
          Nursing Program Classes                 Term            Term             Term          Term              Fee



ATI will invoice the Nursing Program for the actual Student count within two (2) days after receiving the Student enrollment count, and purchase order if a
purchase order is required, provided that, Nursing Program’s failure to provide a purchase order within the time period specified herein shall not delay Nursing
Program’s payment of all applicable invoices in accordance with the terms of the Agreement.

For all Nursing Program payments due in January, the parties agree that ATI will invoice Nursing Program in the immediately preceding December based on
ATI’s projection of Nursing Program’s Student enrollment count, as determined by past enrollments, and, after receiving the actual Student enrollment count
in January, ATI will adjust Nursing Program’s balance to account for any necessary additional invoiced amounts or credits due to Nursing Program.

(c) The Fee for any Student transferring into a Nursing Program Class after commencement of said Class shall be prorated based on the number of
terms/semesters of the Nursing Program Class, but in no event shall said Fee be less than one thousand dollars ($1,000) for any such transferring Student.




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